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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     August 20, 2021

VIA ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government writes in response to defense counsel’s letter of August 19, 2021 (Dkt.

No. 323). The Court denied defense counsel’s sealed, ex parte motion for an order authorizing

four Rule 17(c)(3) subpoenas in a sealed opinion dated August 13, 2021, and the Court ordered

defense counsel to inform the Court whether they seek any sealing or redactions. (Dkt. No. 318).

The defense has responded that they seek no redactions, and that they believe the burden to justify

any redactions is on the Government. (Dkt. No. 323).

       Because the Government does not have a copy of the sealed motion papers or the Court’s

Opinion and Order, the Government is unable to propose or justify any redactions. For instance,

it appears that the motion papers include the names of victims and potential witnesses (id. at 1),

which the Government would likely move to redact. The Government has conferred with defense

counsel, who have informed the Government that they are unable to provide a copy of those

documents absent further order of this Court. Accordingly, the Government moves for a limited
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unsealing of the Court’s August 13, 2021 opinion and the underlying motion papers so that the

Government may review those documents and propose any redactions.



                                                Respectfully submitted,

                                                AUDREY STRAUSS
                                                United States Attorney

                                          By:              /s/
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                                                Lara Pomerantz / Andrew Rohrbach
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Cc:    All counsel of record (by ECF)
